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                                    UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW HAMPSHIRE
In re:
Kip J. Kaiser, Karen A. Kaiser                                                            Bk. No.
Debtors                                                                                   Chapter 13


                               CHAPTER 13 PLAN DATED OCTOBER 16, 2017

⎕ If this box is checked, this plan contains certain special provisions set out in paragraph 13 below.
      Otherwise, the plan includes no provisions deviating from LBF 3015-1A, the model plan in effect at the
      time of the filing of the plan in this court.

Debtor: Kip J. Kaiser________________________________________________                       SS # xxx-xx-6664
Joint Debtor: Karen A. Kaiser___________________________________________                    SS # xxx-xx-8909


1.    PLAN PAYMENTS

      The applicable commitment period pursuant to 11 U.S.C. § 1325(b)(4) is not less than __3__ years. This is a
      ____36________ month plan.

      Plan payments - Debtor to pay to trustee monthly:                                                  $____200.00___
      Number of months:                                                                                      x_ 36_____
      Total of monthly plan payments:                                                                    $__7,200.00___

      In addition, for each year during the term of the plan, all tax refunds in excess of $1,200.00 will be remitted within
      fourteen (14) days of receipt to the trustee as additional disposable income to fund the plan. Deviation from this
      requirement in a given year will be considered by the court only upon the filing of a motion asserting extenuating
      circumstances; any such motion must be filed within thirty (30) days of the date of the filing of the tax return at
      issue.

    __________________________________________________________________________________________
_____________________________________________________________________________________________
_____________________________________________________________________________________________

2.    ADMINISTRATIVE CLAIMS

      Trustee’s fee pursuant to 11 U.S.C. § 1302 and debtor’s attorney’s fees:

      A.   Trustee’s estimated fees and expense (10% of the total to be paid):                           $____720.00
      B.   Attorney’s fee and expenses requested to be paid through the plan,
           payable pursuant to AO 2016-1, notwithstanding 11 U.S.C. § 1325(a)(5)(B)(iii):                $____2,000.00

      C.   Other:                                                                                        $___________

3.    DOMESTIC SUPPORT OBLIGATIONS

      The following DSO claims will be paid in full through the plan:
                                                                                                         Estimated Total
      Creditor                                                                                           Prepetition
                                                                                                         Arrearage Claim
      None________________________________________________________________                               $___________
      ____________________________________________________________________                               $___________

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4.    PRIORITY CLAIMS
                                                                                                          Estimated Total
      Creditor                                                                         Interest Rate      Prepetition Claim
      None__________________________________________________                           ________%          $______0.00_
      ________________________________________________________                         ________%          $___________

5.    SECURED CLAIMS (PRIMARY RESIDENCE)

      Residence located at: 23 Maple Street, Kingston, New Hampshire _________________________________

      Debtor estimates the fair market value of such primary residence to be: $_________________155,000.00_____

      Since the debtor seeks to retain the collateral, and for the lien to remain in full force and effect, the claim will be
      treated in one of the following two manners:

      ( )   Outside the plan. The mortgage is current and will continue to be directly payable by the debtor.
OR
      ( )   The mortgage is not current. Regular postpetition payments will be made directly by the debtor and the
            prepetition arrearage only is to be paid through the plan, as follows:
                                                                                               Estimated Total
      Mortgagee                                                                             Prepetition Arrearage
      1st ___None                           _________________________________________            $_____0.00___
      2nd ___________________________________________________________________                    $___________
      3rd ____________________________________________________________________                   $___________


6.    SECURED CLAIMS (OTHER)

      Current regular payments are to be made directly by the debtor. Prepetition arrearage amounts, if any, are to be
      paid through the plan:

                                                                                                   Estimated Total
      Name of Creditor                                    Description of Collateral            Prepetition Arrearage
      Bank of America ______________________              9123 Moss Drive Englewood, FL____        $____0.00___
      Bank of America____________________                 8206 Robert Street Englewood, FL____     $____0.00___
      Eastern Bank _______________________                Toyota RAV4____________________          $____0.00___
      ____________________________________                ________________________________         $___________
      ____________________________________                ________________________________         $___________


7.    SECURED CLAIMS TO BE MODIFIED

      The following claims are modifiable under the provisions of the Bankruptcy Code and shall be paid through the
      plan as indicated.

      Name of Creditor:           _None______________________________
      Collateral:                 ____________________________________
      Valuation:                  ____________________________________
      Proposed Treatment:         ____________________________________

      Name of Creditor:           ____________________________________
      Collateral:                 ____________________________________
      Valuation:                  ____________________________________
      Proposed Treatment:         ____________________________________




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8.    SECURED CLAIMS WHERE COLLATERAL TO BE SURRENDERED

      Upon confirmation, the automatic stay is lifted as to any collateral treated as surrendered or abandoned and such
      collateral shall be deemed abandoned from the estate.

      Name of Creditor:          ___None_____________________________
      Collateral:                ____________________________________

      Name of Creditor:          ____________________________________
      Collateral:                ____________________________________


9.    EXECUTORY CONTRACTS AND UNEXPIRED LEASES

      Executory contracts and unexpired leases are assumed or rejected as follows:
                                                                                                  Proposed Cure
      Creditor/Lessor Property Description                  Assumed/Rejected                      Amount/Period
      None_________________________________________________ _______________                       $___________
      _____________________________________________________ _______________                       $___________


10. UNSECURED CLAIMS

      Unsecured creditors’ claims total $59,560.56__ (including, if applicable, the unsecured portion of claims modified
      under paragraph 7). The percentage to be paid toward these claims will be determined after the bar date for filing
      claims has passed and will be specified in a motion to allow claims. Unsecured creditors will begin receiving
      payment on a pro rata basis with any secured arrearage and priority claims after the issuance of such an order. If
      all scheduled claims are allowed, the percentage distribution to creditors is estimated at _8__%.


11. GENERAL PLAN PROVISIONS

      A.   Duty to Provide Tax Returns: The debtor has an ongoing obligation to provide a copy of each federal
           income tax return (or any request for extension) directly to the trustee within seven (7) days of the filing of
           the return (or any request for extension) with the taxing authority.

      B.   Allowance of Claims: In the event that a proof of claim is filed in an amount different from the amount
           listed in this plan, the proof of claim amount shall be deemed to be the correct amount unless the debtor or
           another party in interest successfully objects to the proof of claim.

      C.   Property of the Estate and Insurance: All property shall remain property of the estate until discharge.
           Pursuant to 11 U.S.C. § 1306(b), the debtor will remain in possession of all property of the estate unless a
           provision of this plan, or an order of this court, specifically states otherwise. The debtor shall maintain all
           insurance required by law and contract upon property of the estate and the debtor’s property.

      D.   Retention of Lien: All secured creditors shall retain the liens securing their claims unless otherwise stated.




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   E.   Application of Payments Under This Plan:

        1.   Pursuant to 11 U.S.C. § 524(i), payments received by holders and/or servicers of mortgage claims for
             ongoing postpetition installment payments shall be applied and credited to the debtor’s mortgage
             account as if the account were current and no prepetition default existed on the petition date, in the
             order of priority specified in the note and security agreement and applicable non-bankruptcy law.
             Postpetition installment payments made in a timely manner under the terms of the note shall be applied
             and credited without penalty.

        2.   If a creditor applies payments in a manner not consistent with the terms of this plan, or applies
             trustee payments to postpetition costs and fees without prior approval of this court, such actions
             may be a violation of 11 U.S.C. § 524(i).

   F.   Duty of Mortgage Servicer to Provide Loan Information:

        1.   Upon written request of the debtor, any mortgage servicer or its successor shall provide to the debtor
             and/or the debtor’s attorney all information with respect to the debtor’s mortgage loan as it would
             provide absent a bankruptcy proceeding, including contractual monthly payment changes. The term
             “information” as used herein shall include, but is not limited to: (a) a coupon book or monthly
             statements to help the debtor properly make monthly payments, (b) addresses to which to send
             payments and to direct inquiries, (c) balance and payoff information if requested, and (d) if applicable,
             escrow analyses, notices of rate adjustments and the like. The debtor shall not make any claim against
             the mortgage servicer, the secured creditor or their successors for any violation of the automatic stay
             or any discharge injunction resulting from its compliance with this section.

        2.   Upon written request of the debtor’s counsel, any of the information requested to be provided to the
             debtor in paragraph F(1) above shall also be provided to the debtor’s counsel.


   G.   Release of Certificate of Title Upon Satisfaction of Secured Claim:

        1.   Upon satisfaction or other discharge of a security interest in a motor vehicle, mobile home, or in any
             other property of the bankruptcy estate for which the certificate of title is in the possession of a secured
             creditor, such creditor shall within fourteen (14) days after demand and, in any event, within thirty
             (30) days of receipt of the notice of the entry of the discharge order, execute a release of its security
             interest on said title or certificate, in the space provided therefore on the certificate or as the Division
             of Motor Vehicles prescribes, and mail or deliver the certificate and release to the debtor or to the
             attorney for the debtor.

        2.   Confirmation of this plan shall impose an affirmative and direct duty on each such secured creditor to
             comply with this paragraph. This provision shall be enforced in a proceeding filed before this court
             and each such creditor consents to such jurisdiction by failure to file any timely objection to this plan.
             Such an enforcement proceeding may be filed by the debtor in this case either before or after the entry
             of the discharge order and either before or after the closing of this case. The debtor specifically
             reserves the right to file a motion to reopen this case under 11 U.S.C. § 350 to pursue the rights and
             claims provided for therein.




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12. LIQUIDATION ANALYSIS

   In the event of a liquidation under chapter 7, I/we would claim the state/federal exemptions, based upon which
   unsecured creditors would receive___0_%.

   A. REAL ESTATE: Residential, located at: 23 Maple Street, Kingston, New Hampshire_____

                                      Fair Market                        Exemption             Available
        Description                   Value            Liens             Amount and Cite       Chapter 7

        Homestead                _    $155,000.00      $0.00_            $240,000.00____       $0.00______

                                                                     Total non-exempt value: $0.00______


        REAL ESTATE: Non-residential, located at: _Engelwood, FL_________________________

                                      Fair Market                        Exemption             Available
        Description                   Value            Liens             Amount and Cite       Chapter 7

        9123Moss Drive__________ $_31,859.00           $_55.635.00_      $__0.00_______        $0.00______

        8206 Robert Street            $ 21,109.00      $ 48,444.00       $   0.00              $0.00______

                                                                     Total non-exempt value: $0.00______


   B.   NON-EXEMPT TANGIBLE ASSETS:

                                      Fair Market                        Exemption             Available
        Description                   Value            Liens             Amount and Cite       Chapter 7

        None     _______________ $___________          $___________      $___________          $0.00______

                                                                     Total non-exempt value: $0.00______


   C.    NON-EXEMPT INTANGIBLE ASSETS:

                                      Fair Market                        Exemption             Available
        Description                   Value            Liens             Amount and Cite       Chapter 7

        None     _______________ $___________          $___________      $___________          $0.00______

                                                                     Total non-exempt value: $0.00______




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13. SPECIFIC NON-CONFORMING SPECIAL PLAN PROVISIONS (if any):

    __________________________________________________________________________________________
    __________________________________________________________________________________________
    __________________________________________________________________________________________
    __________________________________________________________________________________________
    __________________________________________________________________________________________
    __________________________________________________________________________________________
    __________________________________________________________________________________________
    __________________________________________________________________________________________




I/We declare under penalty of perjury that the foregoing is true and correct.



Date: October 16, 2017                                                   ____/s/ Kip J. Kaiser ______________
                                                                         Debtor: Kip J. Kaiser


Date: October 16, 2017                                                   ____/s/ Karen A. Kaiser ______________
                                                                         Debtor: Karen A. Kaiser




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